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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


  CHRISTOPHER EUBANKS,

             Petitioner,

  v.                                          Civil Action No. 5:07CV153
                                       (Criminal Action No. 5:06CR33-02)
  UNITED STATES OF AMERICA,                                      (STAMP)

             Respondent.


                        MEMORANDUM OPINION AND ORDER
                     AFFIRMING AND ADOPTING REPORT AND
                    RECOMMENDATION OF MAGISTRATE JUDGE

                                I.   Background

        The pro se1 petitioner, Christopher Eubanks, entered a plea of

  guilty to one count of aiding and abetting the possession with

  intent to distribute cocaine base within 1,000 feet of a protected

  location, in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C),

  and 18 U.S.C. § 2.       The petitioner was sentenced to sixty-three

  (63) months of imprisonment and six (6) years of supervised

  release. Instead of pursuing a direct appeal, the petitioner filed

  a motion under 28 U.S.C. § 2255 to vacate, set aside, or correct

  sentence by a person in federal custody.

        Pursuant to 28 U.S.C. §§ 636(b)(1)(A) and (B) and Local Rule

  of Prisoner Litigation Procedure 83.09, et seq., this case was

  referred to United States Magistrate Judge James E. Seibert for an

  initial review and for a report and recommendation on disposition



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        “Pro se” describes a person who represents himself in a court
  proceedings without the assistance of a lawyer.        Black’s Law
  Dictionary 1341 (9th ed. 2009).
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  of this matter.           Magistrate Judge Seibert issued a report and

  recommendation recommending that the petitioner’s § 2255 petition

  be denied and dismissed because it is untimely.                    The magistrate

  judge      advised   the        parties     that,     pursuant    to    28   U.S.C.

  § 636(b)(1)(C), any party may file written objections to his

  proposed findings and recommendations within ten days after being

  served with a copy of the magistrate judge’s recommendation.                    The

  petitioner filed objections. For the reasons set forth below, this

  Court finds that the report and recommendation of the magistrate

  judge should be affirmed and adopted in its entirety.

                                  II.    Applicable Law

           Pursuant to 28 U.S.C. § 636(b)(1)(C), this Court must conduct

  a   de    novo   review    of    any     portion    of   the   magistrate    judge’s

  recommendation to which objection is timely made.                      As to those

  portions of a recommendation to which no objection is made, a

  magistrate judge’s findings and recommendation will be upheld

  unless they are “clearly erroneous.”                See Webb v. Califano, 468 F.

  Supp. 825 (E.D. Cal. 1979).                Because the petitioner has filed

  objections, this Court will undertake a de novo review of the

  matters before it.

                                    III.    Discussion

           The Anti-Terrorism and Effective Death Penalty Act (“AEDPA”)

  of 1996 imposes is a one-year limitation period within which any

  federal habeas corpus motion must be filed:

           The limitation period shall run from the latest of--



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        (1) the date on which the judgment of conviction becomes
        final;

        (2) the date on which the impediment to making a motion
        created by governmental action in violation of the
        Constitution or laws of the United States is removed, if
        the movant was prevented from making a motion by such
        governmental action;

        (3) the date on which the right asserted was initially
        recognized by the Supreme Court, if that right has been
        newly recognized by the Supreme Court and made
        retroactively applicable to cases on collateral review;
        or

        (4) the date on which the facts supporting the claim or
        claims presented could have been discovered through the
        exercise of due diligence.

  28 U.S.C. § 2255.

        Based on a review of the record and the applicable law,

  Magistrate Judge Seibert recommended that the petitioner’s § 2255

  petition be denied. Specifically, the magistrate judge applied the

  statute of limitations to the present case and found that the

  petitioner failed to file his federal habeas petition in a timely

  manner.      Rather, the magistrate judge found the petitioner’s

  federal habeas petition untimely because the petitioner filed his

  federal habeas petition on November 27, 2007, twenty-four days

  after the petitioner’s time to file a federal habeas petition

  expired on November 3, 2007.

        In    his   objections   to    the       magistrate   judge’s   report    and

  recommendation, the petitioner asserts that the magistrate judge

  erred in finding that the habeas petition was untimely filed for

  three reasons.      First, the petitioner argues that the time limit

  had   not   expired   under    §    2255(4)       because   he   could   not   have

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  discovered the facts supporting his claims through the exercise of

  due diligence until the Bureau of Prisons (“BOP”) gave him access

  to his presentence investigation report on or about October 30,

  2007.     Second, the petitioner contends that the BOP’s policy of

  restricting inmates’ access to their presentence investigation

  reports should be construed under § 2255(2) as an impediment

  imposed by governmental action preventing the petitioner from

  filing his habeas petition in a timely manner.                Finally, the

  petitioner urges this Court to find that the circumstances of his

  case warrant equitable tolling of the statute of limitations.

          The petitioner’s objections are without merit.           As to his

  first argument, the petitioner ignores several facts demonstrating

  that the date on which the facts supporting his claim or claims

  occurred more than one year before he obtained access to the

  presentence investigation report through the BOP.            Specifically,

  the petitioner received a copy of the presentence investigation

  report before his sentencing hearing on October 20, 2006.           At that

  hearing, the petitioner stated under oath that he had reviewed the

  presentence report with his attorney and that his attorney had

  answered to the petitioner’s satisfaction.          Finally, on September

  19, 2006, he filed objections to the presentence investigation

  report.     Thus, this Court finds no merit to the petitioner’s

  contention that pursuant to § 2255(4), his one-year time limit for

  filing his habeas petition did not begin to run until the BOP gave

  him access to his presentence report on or about October 30, 2007.



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        The   petitioner’s   second   argument,      that   the   BOP’s   policy

  restricting access to presentence investigation report should be

  construed as a governmental impediment under § 2255(2), is equally

  unavailing.     The petitioner cites no legal authority for this

  proposition, and this Court does not believe that § 2255(2)

  encompasses the BOP policy of which the petitioner complains.

        Finally, this Court rejects the petitioner’s argument that he

  is entitled to equitable tolling.           A petitioner is entitled to

  equitable tolling only if shows “(1) extraordinary circumstances,

  (2) beyond his control or external to his own conduct, (3) that

  prevented him from filing on time.”          Rouse v. Lee, 339 F.3d 238,

  246 (4th Cir. 2003).     As to the requirement that the circumstances

  be beyond a petitioner’s control or external to his own conduct,

  the petitioner also “bears the burden of establishing . . . that he

  has been pursuing his rights diligently.” Pace v. DiGuglielmo, 544

  U.S. 408, 418 (2005).      The application of equitable tolling “must

  be guarded and infrequent, lest circumstances of individualized

  hardship supplant the rules of clearly drafted statutes.”               Harris

  v. Hutchinson, 209 F.3d 325, 330 (4th Cir. 2000).

        Here, the petitioner must show both that the lack of access to

  his   presentence     investigation       report   was    an    extraordinary

  circumstance that caused him to file late and that he has acted

  diligently in pursuing his rights.         He does not meet this burden.

  First, as noted above, the petitioner had already reviewed his

  presentence investigation report and was apprised of its contents



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  before his sentencing hearing on October 20, 2006. Second, even if

  the   petitioner    had    not    previously      reviewed    his    presentence

  investigation report, he has alleged no facts showing that he acted

  with the requisite diligence. The petitioner alleges only that the

  BOP first gave him access to his presentence report on or about

  October 30, 2007.    However, he fails to set forth the date on which

  he    first   requested    such    access    or    any   other      circumstances

  indicating that he has been diligently pursuing his rights.                Thus,

  the   petitioner   fails    to     demonstrate    that   he   is     entitled   to

  equitable tolling.

         In sum, based upon a de novo review, this Court concludes that

  the petitioner’s objections are groundless, and that the magistrate

  judge’s recommendations concerning the petitioner’s § 2255 petition

  should be affirmed and adopted.

                                   IV.   Conclusion

         For the reasons set forth above, the report and recommendation

  of the magistrate judge is hereby AFFIRMED and ADOPTED in its

  entirety.     Accordingly, the petitioner’s § 2255 petition is DENIED

  as untimely and DISMISSED WITH PREJUDICE.            It is ORDERED that this

  civil action be DISMISSED and STRICKEN from the active docket of

  this Court.

         Should the petitioner choose to appeal the judgment of this

  Court to the United States Court of Appeals for the Fourth Circuit

  on the issues to which objection was made, he is ADVISED that he

  must file a notice of appeal with the Clerk of this Court within



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  thirty days after the date that the judgment order in this case is

  entered.   See Fed. R. App. P. 4(a)(1).        Upon reviewing the notice

  of   appeal,   this   Court   will    either   issue   a   certificate    of

  appealability or state why a certificate should not be issued in

  accordance with Federal Rule of Appellate Procedure 22(b)(1).             If

  this Court should deny a certification, the petitioner may request

  a circuit judge of the United States Court of Appeals for the

  Fourth Circuit to issue the certificate.

        IT IS SO ORDERED.

        The Clerk is directed to transmit a copy of this memorandum

  opinion and order to the pro se petitioner by certified mail and to

  counsel of record herein.         Pursuant to Federal Rule of Civil

  Procedure 58, the Clerk is directed to enter judgment on this

  matter.

        DATED:     July 1, 2009



                                       /s/ Frederick P. Stamp, Jr.
                                       FREDERICK P. STAMP, JR.
                                       UNITED STATES DISTRICT JUDGE




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